      Case 23-13491-amc                     Doc         Filed 05/22/24 Entered 05/22/24 17:24:53                       Desc Main
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 Fill in this information to identify the case:


   Debtor 1 Chinelle Monique Ballard
   (Spouse, if filing)

   United States Bankruptcy Court for the EASTERN District of Pennsylvania


   Case number 23-13491 AMC




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                             12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



 Name of creditor: MIDFIRST BANK                                                          Court claim no. (if known): 5-1                    _


 Last 4 digits of any number you use to
 identify the debtor’s account: 7825
 Does this notice supplement a prior notice of postpetition fees,
 Expenses, and charges?
 No
 Yes. Date of the last notice:           /      /

 Part 1:    Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
 If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.
      Description                                                Dates incurred                                       Amount

  1. Late charges                                                            03/16/2024                                (1)   $ 26.13
  2. Non-sufficient funds (NSF) fees                                                                                   (2)   $
  3. Attorney fees – Plan review                                             12/20/2023                                (3)   $ 225.00
  4. Filing fees and court costs                                                                                       (4)   $
  5. Bankruptcy/Proof of claim fees                                          01/10/2024                                (5)   $ 725.00
  6. Appraisal/Broker’s price opinion fees                                                                             (6)   $
  7. Property inspection fees                                                11/26/2023                                (7)   $ 30.00
  8. Tax advances (non-escrow)                                                                                         (8)   $
  9. Insurance advances (non-escrow)                                                                                   (9)   $
 10. Property preservation expenses. Specify:                                                                         (10)   $
 11. Other. Specify: Objection to Confirmation                               01/10/2024                               (11)   $ 550.00
 12. Other. Specify:                                                                                                  (12)   $
 13. Other. Specify:                                                                                                  (13)   $
 14. Other. Specify:                                                                                                  (14)   $


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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            Chinelle Monique Ballard
Debtor 1                                                                              _       Case number (if known) 23-13491 AMC
                 First Name      Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  
   I am the creditor.
  I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



              /s/ Michael P. Farrington                                                                  05/16/2024
                  Signature
                                                                                              Date      _/       /




 Print:             Michael P. Farrington                                                 _   Title   Attorney for Creditor
                    First Name                      Middle Name         Last Name



 Company            KML Law Group, P.C.                                                   _



 Address            701                        Market Street, Suite 5000                  _
                    Number                 Street

                    Philadelphia,                           PA                19106
                   City                        State         Zip Code


 Contact phone      (215)627–1322                                                             Email m f a r r i n g t o n @kmllawgroup.com




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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Chinelle Monique Ballard                        BK NO. 23-13491 AMC
                              Debtor(s)
                                                         Chapter 13
  MIDFIRST BANK
                                   Movant                Related to Claim No. 5-1
                   vs.

  Chinelle Monique Ballard
                                   Debtor(s)

  Kenneth E. West,
                                   Trustee

                      CERTIFICATE OF SERVICE
   NOTICE OF POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES
  I, Michael P. Farrington of KML Law Group, P.C., certify that I am, and at all times
  hereinafter mentioned was, more than 18 years of age and that on May 22, 2024, I served the
  above captioned pleading, filed in the proceeding on the parties at the addresses shown below:

                                                         Attorney for Debtor(s) (via ECF)
  Debtor(s)                                              Michael A. Cibik2, Esq.
  Chinelle Monique Ballard                               1500 Walnut Street, Suite 900
  6414 Callowhill St                                     Philadelphia, PA 19102
  Philadelphia, PA 19151
                                                         Trustee (via ECF)
                                                         Kenneth E. West
                                                         Office of the Chapter 13 Standing Trustee
                                                         1234 Market Street - Suite 1813
                                                         Philadelphia, PA 19107


  Method of Service: electronic means or first-class mail.

  Dated: May 22, 2024

                                                             /s/ Michael P. Farrington
                                                             Michael P. Farrington Esq.
                                                             Attorney I.D. 329636
                                                             KML Law Group, P.C.
                                                             BNY Mellon Independence Center
                                                             701 Market Street, Suite 5000
                                                             Philadelphia, PA 19106
                                                             (215) 825-6488
                                                             mfarrington@kmllawgroup.com
